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       ECF No. 1
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                       ANTHONY T. GARASI, ESQ.
                     2 Nevada State Bar No. 11134
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                     3 Nevada State Bar No. 14584
                       BREMER WHYTE BROWN & O’MEARA LLP
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                     7 tmaynarich@bremerwhyte.com
                     8 Attorneys for Defendant,
                       CARDENAS MARKETS, LLC
                     9
                  10                                    UNITED STATES DISTRICT COURT
                  11                                        DISTRICT OF NEVADA
                  12
                  13 MARIA QUEZADA, an individual,                     )   Case No.
                                                                       )
                  14                           Plaintiff,              )   DEFENDANT CARDENAS
                                                                       )   MARKETS, LLC NOTICE OF
                  15                 vs.                               )   REMOVAL OF ACTION TO THE
                                                                       )   UNITED STATES DISTRICT
                  16 CARDENAS MARKETS, LLC, a                          )   COURT FOR THE DISTRICT OF
                     Domestic Limited Liability Company;               )   NEVADA
                  17 DOES I-X, inclusive; and ROE                      )
                     CORPORATIONS I-X, inclusive,                      )
                  18                                                   )
                                Defendant.                             )
                  19                                                   )
                  20
                            TO: THE UNITED STATES DISTRICT COURT FOR DISTRICT OF
                  21
                            NEVADA:
                  22
                                     PLEASE TAKE NOTICE that DEFENDANT CARDENAS MARKETS, LLC
                  23
                            hereby removes the state action entitled “MARIA QUEZADA, an individual vs.
                  24
                            CARDENAS MARKETS LLC, a domestic limited-liability Company; DOES I
                  25
                            through X; and ROE CORPORATIONS I through X, inclusive,” Case No. A-22-
                  26
                            849356-C filed in the Eighth Judicial District Court for the State of Nevada in and for
                  27
                            the County of Clark to this Court.
                  28
BREMER WHYTE BROWN &
      O’MEARA LLP
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         Suite 250
  Las Vegas, NV 89144
      (702) 258-6665
                            1438.204 4874-7016-3485.2
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                     1               The grounds for removal are based on diversity jurisdiction pursuant to 28
                     2 USCS § 1332, as follows:
                     3               1. The residences of all three named parties are diverse:
                     4                         a) Plaintiff resides in Nevada; and,
                     5                         b) Defendant Cardenas Markets, LLC is a Delaware corporation.
                     6               2. The amount in controversy exceeds $75,000.00, as Plaintiff has alleged
                     7 $22,407.84 in past medical expenses with $29,377.00 in alleged future surgical costs.
                     8 28 US Code § 1332.
                     9               3. The request is timely submitted as Plaintiff filed their Amended Complaint
                  10 on April 14, 2022.                   Defendant Cardenas Markets, LLC filed their Answer to
                  11 the Summons and Complaint on April 22, 2022 and noticed removal within thirty
                  12 (30) days of service of the initial pleading on April 26, 2022. 28 U.S. Code § 1446.
                  13 Dated: April 26, 2022                               BREMER WHYTE BROWN & O’MEARA
                                                                         LLP
                  14
                  15
                                                                         By:
                  16                                                           Anthony T. Garasi, Esq., Bar No. 11134
                                                                               Ty M. Maynarich, Esq., Bar No. 14584
                  17                                                           Attorneys for Defendant
                                                                               CARDENAS MARKETS, LLC
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                     1                                  CERTIFICATE OF SERVICE
                     2               I hereby certify that on this 26th day of April 2022, a true and correct copy of
                     3 the foregoing document was electronically delivered to CM/ECF for filing and service
                     4 upon all electronic service list recipients.
                     5
                     6                                                                             ______
                                                                     Camila Alvarez, an employee of BREMER
                     7
                                                                     WHYTE BROWN & O’MEARA, LLP
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